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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
  SCHMALZ INC.,

         Plaintiff,
                                                Case No. 2:16-cv-10040-GAD-SDD
  v.                                            Hon. Gershwin A. Drain
  BETTER VACUUM CUPS INC.,                      Magistrate Judge Stephanie Dawkins Davis

         Defendant.

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  PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
    TO QUASH PLAINTIFF’S THIRD PARTY SUBPOENAS [DOC. 104]
Case 2:16-cv-10040-GAD-SDD ECF No. 114 filed 07/10/17            PageID.2004   Page 2 of 19



         Plaintiff, Schmalz Inc., by and through its undersigned attorneys, hereby

  responds to Defendant’s Motion to Quash Plaintiff’s Third Party Subpoenas [Doc.

  104] and requests that this Court deny the Motion.

         Defendant has no standing or authority to interfere with Plaintiff’s third party

  subpoenas when a Protective Order [Doc. 39] is in place for protection of potentially

  trade secret/confidential information and Defendant does not assert privilege.

         Defendant’s motion is a part of a progression of hostility towards Plaintiff

  with no reasonable purpose other than to harass Plaintiff, cause unnecessary delay,

  and needlessly increase the cost of litigation.

         For these reasons, and the reasons explained more fully in the accompanying

  Brief, Defendant’s Motion must be denied.

                                            HOWARD & HOWARD ATTORNEYS PLLC



   Dated: July 10, 2017                     By: /s/ Gerald E. McGlynn, III
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
  SCHMALZ INC.,

         Plaintiff,
                                                Case No. 2:16-cv-10040-GAD-SDD
  v.                                            Hon. Gershwin A. Drain
  BETTER VACUUM CUPS INC.,                      Magistrate Judge Stephanie Dawkins Davis

         Defendant.

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                PLAINTIFF’S BRIEF IN SUPPORT OF ITS
          RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
       TO QUASH PLAINTIFF’S THIRD PARTY SUBPOENAS [DOC. 104]
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                               ISSUES PRESENTED
   I.   Whether Defendant has standing to interfere with Plaintiff’s third party

        subpoenas where there is a protective order in place that specifically

        applies to third party discovery and protects confidential/trade secret

        information and Defendant does not allege disclosure of its privileged

        information?


        Plaintiff Schmalz answers:                   No




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  I.   INTRODUCTION
       Defendant has no standing to interfere with Plaintiff’s third party subpoenas.

 “It is clear that ‘as a general rule, a party has no standing to seek to quash a subpoena

 directed to a non party.’” Underwood v. Riverview of Ann Arbor, No. 08-cv-11024-

 DT, 2008 BL 276904, *1 (E.D. Mich. Dec. 15, 2008)(Exhibit A). The only

 exception is where the party-movant can demonstrate a “privilege or personal right”

 relating to the subpoenaed information. Id. Defendant does not assert privilege.

 Instead, Defendant simply objects on the purported grounds that the document

 requests in the subpoenas are overbroad and unduly burdensome. As will be

 explained, the requests are not overly broad or burdensome and in fact are narrowly

 tailored to obtain specific important information. Further, even if the requested

 information includes Defendant’s confidential information, the parties entered into

 a protective order that specifically applies to third party discovery and protects

 Defendant’s information.

       In five of the eight requests of each subpoena Plaintiff seeks “communication”

 between the third party and Defendant on certain relevant topics such as patent

 infringement.    By limiting the request to communication with Defendant, the

 requests are very specific and clear. Searching for the requested information will be

 easy for the subpoenaed parties. Further, the requested information goes to the heart

 of key issues in the case including when and how Defendant first became aware of



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  the asserted patent and possible patent infringement. The other requests are equally

  important and limited to a narrow group of documents having high relevance to

  issues of patent infringement and damages.

        This is the second of what are now five (5) and counting discovery motions

  filed by Defendant within the past two weeks. [See Docs. 101, 102, 104, 106 and

  109]. In each instance, Defendant 1) failed to properly conduct a Rule 37(a)(1)/E.D.

  Mich. L.R. 7.1(a) conference and instead jumped to filing a motion without even a

  minimal attempt at reaching an agreement, and 2) is on the thinnest of thin ice

  without any legal basis for filing the motion. Plaintiff’s attempts at cooperation have

  been met with an increasingly hostile and deceitful response from Defendant that

  can only reasonably be characterized as intended to harass, cause delay and

  needlessly increase litigation costs. Defendant should be sanctioned pursuant to

  Federal Rule of Civil Procedure 11.

  II.   ARGUMENT
        A.     Defendant Lacks Standing to Quash the Plaintiff’s Subpoenas to
               Third Parties
        The Underwood v. Riverview of Ann Arbor case is instructive on the issue of

  standing to quash a third party subpoena. It is clear that, “as a general rule, a party

  has no standing to seek to quash a subpoena directed to a non-party.” Id. Citing

  United States v. Wells, Case No. 06-10589, 2006 BL 114928, *2 (E.D. Mich. Nov.

  3, 2006)(Exhibit B); Microsoft Corp. v. Tech. Enter., LLC, No. 1:07-mc-210-DFH-



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  TAB, 2008 WL 424613, *1 (S.D. Ind. Feb. 13, 2008)(Exhibit C); Hadix v. Caruso,

  Case No. 4:92-cv-110., 2006 BL 105067, *1 (W.D. Mich. Oct. 3, 2006)(Exhibit D).

  But an exception exists where the party-movant can demonstrate a claim of privilege

  or personal right. Id. citing Mann v. Univ. of Cincinnati, No. 95-3195, 1997 WL

  280188, *4 (6th Cir. 1997)(per curiam)(Exhibit E); Microsoft, 2008 WL 424613 at

  *1) (quoting United States v. Raineri, 670 F.2d 702, 712 (7th Cir. 1982));

  Schweinfurth v. Motorola, Inc., Case No.. 1:05CV024, 2008 BL 260163, *2 (N.D.

  Ohio Nov. 19, 2008)(Exhibit F). Finally, a party seeking to quash a subpoena bears

  a heavy burden of proof. Id. citing Wells, 2006 BL 114928 at *2. The case Smith v.

  Sears, Roebuck and Co. cited by Defendant is in accord with, and in fact cites to,

  Underwood. (See Doc. 104, Pg ID 1594, Defendant’s brief).

        In Underwood, the court held that the defendant “in seeking to quash

  subpoenas directed at third-parties, makes no claim of privilege or personal right.

  As such, and in light of the heavy burden of proof, the court finds Defendant is

  without standing to quash these subpoenas.” Id. The same is true here where

  Defendant does not make a claim of privilege or personal right. Defendant’s entire

  argument revolves around an allegation that the subpoenas are overly broad and

  unduly burdensome.




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        B.     The Parties’ Protective Order Will Protect the Confidentiality of
               the Subpoenaed Information
        To the extent that any of the information that the subpoenaed parties produce

  is confidential or trade secret, the information will be protected by the Court’s

  Protective Order [Doc. 39]. The Protective Order provides that “Each Party may

  designate as confidential for protection under this Order, in whole or in part,

  any document, information or material that constitutes or incudes, in whole or

  in part, confidential or proprietary information or trade secrets of the Party or

  a Third Party to whom the Party reasonably believes it owes an obligation of

  confidentiality with respect to such document, information or material.” (Emphasis

  added). Id. at § 1. The Protective Order [Doc. 39] also specifically provides for

  protection of third party discovery:

               20.   To the extent that any discovery is taken of persons
                     who are not Parties to this Action (“Third Parties”)
                     and in the event that such Third Parties contended
                     the discovery sought involves trade secrets,
                     confidential business information, or other
                     proprietary information, then such Third Parties
                     may agree to be bound by this Order.

               21.   To the extent that discovery or testimony is taken of
                     Third Parties, the Third Parties may designate as
                     “CONFIDENTIAL”              “RESTRICTED             –
                     ATTORNEYS’ EYES ONLY”, or “HIGHLY
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                     – PROSECUTION BAR” any documents,
                     information or other material, in whole or in part,
                     produced or give by such documents, information
                     or other material, in whole or in part, produced or
                     give by such Third Parties. The Third Parties shall

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                     have ten (10) days after production of such
                     documents, information or other materials to make
                     such a designation. Until that time period lapses or
                     until such a designation has been made, whichever
                     occurs sooner, all documents, information or other
                     material so produced or given shall be treated as
                     “CONFIDENTIAL” in accordance with this Order.
                     Id.

        Therefore, both Defendant and any third party have opportunity for protection

  of any confidential or trade secret information pursuant to the Protective Order.

        C.     Plaintiff’s Subpoenas Are Not Overly Broad or Unduly
               Burdensome
        Plaintiff’s subpoenas are directed to specific documents having high

  relevancy to Plaintiff’s patent infringement claims. Importantly, not one of the third

  parties served with a subpoena has objected to the subpoena or provided an affidavit

  in support of Defendant’s motion attesting to any purported burden because of the

  subpoena. Defendant is simply obstructing the process when the third parties

  themselves have not alleged undue burden. In fact, one of the third parties, T-Tool

  USA, LLC has already produced their responsive documents.

        The subpoenas were sent to two groups of third parties. The first group

  includes: Advanced Engineering & Molding Technology, Inc. [Doc. 104, Pg ID

  1600, Ex. A to Defendant’s brief]; Rancho Mold & Machine [Doc. 104, Pg ID 1605,

  Ex. B to Defendant’s brief]; Do+Able Products, Inc. Machine [Doc. 104, Pg ID

  1615, Ex. D to Defendant’s brief]; Machinery & Solutions LLC Machine [Doc. 104,

  Pg ID 1620, Ex. E to Defendant’s brief]; Mark McClaran Machine [Doc. 104, Pg ID

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  1625, Ex. F to Defendant’s brief]. The first group comprises entities that Defendant

  identified in interrogatory answers or in its document production as involved in the

  design and development of the infringing products. The second group includes: T-

  Tool USA LLC; MidAmerica Woodworking Machinery, Inc. [Doc. 105, Pg ID

  1637, Ex. G to Defendant’s Errata Notice]. Plaintiff understands these entities to be

  distributors for the infringing products. The subpoenas sent to the third parties

  included the following requests:

               1.    All communication with Better Vacuum Cups Inc.,
                     or any of its agents, employees or owners
                     (collectively “BVC”) relating to or regarding
                     potential patent infringement.

               2.   All communication with BVC relating to or
                    regarding potential patent infringement of U.S.
                    Patent No. 6,364,299.
               3.   All communication with BVC relating to or
                    regarding design, development or sales of vacuum
                    cups, including component parts for vacuum cups,
                    specifically including vacuum cups that could be
                    considered a replacement for a vacuum cup by
                    Schmalz GmbH or Schmalz, Inc., specifically
                    including K1 (single circuit) style vacuum cups.

               4.   All communication with BVC relating to or
                    regarding a redesign, redevelopment or sales of K1
                    style vacuum cups from 2014 to the present.
               5.   All invoices or purchase orders for the sale or
                    purchase of vacuum cups manufactured by or for
                    BVC, specifically including vacuum cups that could
                    be considered a replacement for a vacuum cup by
                    Schmalz GmbH or Schmalz Inc.



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               6.    All communication with BVC relating to or
                     regarding the purchase or sale of vacuum cups,
                     specifically including vacuum cups that could be
                     considered a replacement for a vacuum cup by
                     Schmalz GmbH or Schmalz Inc.

               7.    All photos or videos of BVC’s products, specifically
                     including vacuum cups that could be considered a
                     replacement for a vacuum cup by Schmalz GmbH or
                     Schmalz Inc.
               8.    All photos or videos of vacuum cups by Schmalz
                     GmbH or Schmalz Inc.
        The first and second requests seek communication with Defendant regarding

  patent infringement (Request No. 1) and infringement of the patent in suit, U.S.

  Patent No. 6,364,299 (the ’299 patent) (Request No. 2). Defendant appears to object

  to the first request because it is not limited to the ‘299 patent. The reason for not

  limiting the request to the ’299 patent is to prevent references to patent infringement

  where the issue relates to the ’299 patent but, the ’299 patent is not specifically

  mentioned. Further, if Defendant was aware of infringement of other patents

  particularly other patents owned by Schmalz, it would show that Defendant likely

  was also aware of the risk of infringing the ’299 patent. In any event, the requests

  are very limited and only involve “communication” with Defendant.              This is

  reasonable and not burdensome as Defendant alleges.

        Request No. 3 seeks communication with Defendant relating to or regarding

  the design, development or sale of vacuum cups including K1 style vacuum cups.

  This request is very limited as it is only for communication with Defendant and seeks

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  information relating to vacuum cups which is a very specific product. Similar to the

  first two requests, it is not limited to K1 style vacuum cups to avoid lack of

  production of documents relating to the infringing products just because it is not

  specifically identified as a K1 product. In fact, the developers likely would not know

  how the product is identified by Defendant or whether it is or is not a K1 product.

  Therefore the request is reasonable and any limitation to K1 products would likely

  not produce the necessary documents.

        Request No. 4 relates to “redesign, redevelopment or sales of K1 style vacuum

  cups.” This request is directed to Defendant’s story that it has stopped selling the

  infringing style of vacuum cups and instead is selling a modified design that does

  not infringe the ’299 patent.     This information is highly relevant to whether

  Defendant is in fact taking measures to stop the infringement.

        Request No. 5 asks for invoices or purchase orders for the sale or purchase of

  Defendant’s vacuum cups, specifically including vacuum cups that could be

  considered a replacement for Plaintiff’s vacuum cups. Again, not all third parties

  will know of the differences between a K1 or K2 style product. Limiting the requests

  to cups that are replacement for Schmalz’s cups (Plaintiff) is very narrow and

  reasonable. The same limitations appear in Request Nos. 6, 7 and 8. Only

  information for Schmalz replacement cups are requested. If fact, it would likely take




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  the third party more time to figure out whether a particular invoice, video, photo,

  etc. related to a K1 product instead of a K2 product.

        Therefore, Plaintiff respectfully submits that the subpoenas are reasonable in

  scope and do not impose undue burden on the subpoenaed third parties. The

  requested documents go directly to issues of patent infringement and Defendant’s

  manufacture and sale of the infringing products. Defendant’s protests otherwise are

  self-serving and unsupported.

        D.     Defendant is Obstructing Plaintiff’s Discovery and Should Be
               Sanctioned
        Defendant’s has no justification for its motion. Neither the law nor the facts

  support any of Defendant’s arguments.

        Part of the reason for issuing the subpoenas to third parties is to obtain

  information that Defendant is refusing to produce in discovery that is critical to

  Plaintiff’s claims. As discussed in Plaintiff motion to compel discovery [Doc. 56]

  and in the parties’ joint statement of resolved and unresolved issues, Defendant is

  refusing to provide any invoices or purchase orders with its customers relating to the

  infringing products.    Instead, Defendant will only provide a summary of its

  purported sales of some of its products within the last two years. However, Plaintiff

  is entitled to damages going back, up to six years in a patent case. In any event,

  Plaintiff has a right to know if Defendant has properly accounted for the sales of the

  infringing products. Knowing the identity of Plaintiff’s customers for the infringing


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  products is also critical for allowing Plaintiff to prove direct infringement by the

  customers who use the infringing vacuum cup on a base. Frankly, without this

  information, Plaintiff will not be able to prove its case. Defendant has stonewalled

  producing this information for nearly a year.

         Filing the present motion is Defendant’s last desperate attempt to block

  critical and discoverable information. The end consequence of Defendant’s motion

  is to wrongfully increase the litigation costs and needlessly delay the case.

                                    CONCLUSION
         For the reasons as already discussed, Defendant’s motion is not well intended

  and should be denied.

                                            HOWARD & HOWARD ATTORNEYS PLLC



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                           CERTIFICATE OF SERVICE
           THE UNDERSIGNED certifies that he filed Plaintiff’s Response in

  Opposition to Defendant’s Motion to Quash Plaintiff’s Third Party Subpoenas

  [Doc. 104] along with this accompanying Certificate of Service using the CM/ECF

  Filing system, which generated a Notification of Electronic Filing to all persons

  currently registered with the Court in the above-referenced matter.

                                           HOWARD & HOWARD ATTORNEYS PLLC



   Dated: July 10, 2017                    By: /s/ Gerald E. McGlynn, III
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